Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 1 of 48 PageID #: 52
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 2 of 48 PageID #: 53
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 3 of 48 PageID #: 54
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 4 of 48 PageID #: 55
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 5 of 48 PageID #: 56
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 6 of 48 PageID #: 57
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 7 of 48 PageID #: 58
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 8 of 48 PageID #: 59
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 9 of 48 PageID #: 60
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 10 of 48 PageID #: 61
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 11 of 48 PageID #: 62
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 12 of 48 PageID #: 63
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 13 of 48 PageID #: 64
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 14 of 48 PageID #: 65
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 15 of 48 PageID #: 66
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 16 of 48 PageID #: 67
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 17 of 48 PageID #: 68
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 18 of 48 PageID #: 69
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 19 of 48 PageID #: 70
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 20 of 48 PageID #: 71
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 21 of 48 PageID #: 72
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 22 of 48 PageID #: 73
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 23 of 48 PageID #: 74
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 24 of 48 PageID #: 75
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 25 of 48 PageID #: 76
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 26 of 48 PageID #: 77
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 27 of 48 PageID #: 78
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 28 of 48 PageID #: 79
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 29 of 48 PageID #: 80
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 30 of 48 PageID #: 81
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 31 of 48 PageID #: 82
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 32 of 48 PageID #: 83
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 33 of 48 PageID #: 84
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 34 of 48 PageID #: 85
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 35 of 48 PageID #: 86
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 36 of 48 PageID #: 87
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 37 of 48 PageID #: 88
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 38 of 48 PageID #: 89
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 39 of 48 PageID #: 90
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 40 of 48 PageID #: 91
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 41 of 48 PageID #: 92
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 42 of 48 PageID #: 93
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 43 of 48 PageID #: 94
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 44 of 48 PageID #: 95
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 45 of 48 PageID #: 96
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 46 of 48 PageID #: 97
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 47 of 48 PageID #: 98
Case 5:12-cv-05111-JLH Document 2   Filed 06/08/12 Page 48 of 48 PageID #: 99
